Filed 8/21/24 In re N.M. CA4/3
                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                                DIVISION THREE


 In re N.M., a Person Coming Under
 the Juvenile Court Law.

 ORANGE COUNTY SOCIAL
 SERVICES AGENCY,
                                                                  G063839
  Plaintiff and Respondent,
                                                                  (Super. Ct. Nos. 20DP1545,
           v.                                                     20DP1545A)

 C.H.,                                                            OPINION

  Defendant and Appellant.


                   Appeal from an order of the Superior Court of Orange County,
Julie A. Swain, Judge. Affirmed.
                   Valerie N. Lankford, under appointment by the Court of Appeal,
for Defendant and Appellant.
                   Leon J. Page, County Counsel, Debbie Torrez and Deborah B.
Morse, Deputy County Counsel, for Plaintiff and Respondent.
                   No appearance for the Minor.
                                            *                *                 *
            This is an appeal by C.H. (the mother) of dependent child N.M.
(the child) after the juvenile court terminated parental rights. She argues the
court erred by failing to invoke Welfare and Institutions Code section 366.26,
subdivision (c)(1)(B)(i),1 the parental benefit exception, and section 366.26,
subdivision (c)(1)(B)(v), the sibling benefit exception, to prevent the
termination of parental rights. The court found the mother had not met her
burden as to either exception. The mother argues she satisfied her burden
and the court’s findings to the contrary must be reversed. We find no error
and therefore affirm the court’s order terminating parental rights.
          STATEMENT OF FACTS AND PROCEDURAL HISTORY
            Because of the very limited issues on appeal, our statement of
facts is limited to those issues. We have, however, reviewed the entire record.
            The mother’s two children, N.M. and S.D., were detained in
December 2020 based on allegations of general neglect and domestic violence
between the mother and her boyfriend, Richard D. (Richard). N.M. was six
years old at the time and S.D,2 his sister, was 10 years old. N.M was placed
with his father, A.M. (the father). The petition alleged jurisdiction under
section 300, subdivision (b)(1). The detention report prepared by the Orange
County Social Services Agency (SSA) stated that the mother had full custody
of S.D. and shared custody of N.M. with the father. At the detention hearing,
the court ordered N.M. to be detained from the mother, with custody granted
to the father. Later, on December 30, SSA filed an amended petition adding



            1 Subsequent statutory references are to the Welfare and
Institutions Code.

            2 Because S.D. is not involved in this appeal, we mention her only
as relevant to the issues on appeal.

                                        2
allegations against the father, specifically a history of and current substance
abuse issues as a user of methamphetamine.
            While in his father’s custody, N.M. lived with the father, his
parents (the paternal grandparents), and the young child the grandparents
were in the process of adopting, G. The mother’s visits during this time frame
seemed to go reasonably well. The social worker had told the paternal
grandmother, S.M., that if a visit was going well, she could extend it. S.M.
stated that she had offered this previously but the mother would decline and
leave.
            At a visit in late January or early February, S.M. reported that at
the end of the visit, the mother asked N.M. for another hug, but the child
refused and began running around. S.M. reported that the mother said: “‘I
am not coming to visit you anymore. I am not going to do long visits or 3
hours with you anymore. I am not going to pick you up from school anymore
if you do this.’” S.M. later asked the child why he did not want to hug the
mother. He said, “‘I already did, why do I need to do it again? Mommy says
she’s not going to visit me anymore.’” The child seemed fine the next day, but
S.M. could not get the mother to commit to her next visit. Generally, N.M.
was doing well with his placement. He informed the social worker that he
loved visits with his sister and mother.
            At some point, things changed. On February 19, S.M. reported
that N.M. has been “frustrated and angry” toward the mother during visits,
and had been hitting and biting the mother when frustrated. S.M. noticed the
mother had been attempting to use language from parenting classes to help
with this behavior. The mother had not been calling N.M. at the agreed upon
time on non-visit days.



                                       3
            At the jurisdiction hearing on February 16, 2021, the court
assumed jurisdiction, and the petition was amended somewhat. A disposition
hearing was set.
            On February 22, during a visit with the mother and S.D., N.M.
began to get upset at the end of the visit and began acting out, running away
from the mother and hitting and kicking her. The mother told the social
worker she believed N.M.’s behavior toward her was because he played video
games and had learned violence. When asked, she denied that witnessing
domestic violence might have influenced N.M.’s behavior and stated it was
due to video games. The mother requested a new visit supervisor and the
social worker reviewed the options with her.
            At the disposition hearing on March 5, the court found clear and
convincing evidence of the need to remove N.M. from the mother. The court
ordered the child placed with his father with family maintenance services.
The placement with the father was contingent on the father continuing to live
with the parental grandparents. A case plan and recommended visitation
schedule for the mother was approved.
            During the next review period, it became evident that the father
had not followed through on his own case plan. His referrals were eventually
terminated. Eventually, SSA served a protective custody warrant, under
which N.M. would stay in the home with the paternal grandparents and the
father would be required to move out. The father was visibly angry and could
be heard yelling at S.M. He shouted profanities at the social worker, and S.M.
later informed the social worker the father had ripped up the protective
custody warrant. SSA filed a supplemental petition as to the father. The
court sustained the petition, removed N.M. from the father, and placed him
with the paternal grandparents.

                                      4
            Meanwhile, the mother continued to visit N.M., experiencing
what she referred to as “many struggles” due to his outbursts and anger. In
May, the mother reported that visits “‘usually start out good and then turn
out bad in the end.’” She explained that N.M. would start to have an attitude
toward the end of visits, and would not want to play anymore. She blamed
N.M.’s attitude on the father and S.M. not being “on the same page.” S.M.
stated that the mother often brought activities to visits, but was at times
inappropriate and negative. In June 2021, she reported she had “a ‘very bad
visit’” and another visit in July did not go well.
            After a court hearing in July, the mother was authorized to have
two hours a week of unsupervised visits. During the following review period,
SSA had concerns that the mother was continuing to engage in a relationship
that included domestic violence, which she continued to deny.
            As to the visits themselves, on August 18, N.M. reported that the
mother “would bring games and toys for them to play with. During visits with
him and his sister, they would all play together, and he generally had a good
time. He recalled a visit where he and the mother had gotten into an
argument about a game they were playing, and the child got sent to his room.
During the argument, he went in and out of the room multiple times, and he
recalled the mother hitting him on the bottom with her hand. He was upset
and did not want the visit to continue and gave the mother attitude for the
rest of the visit. He recalled another visit that ended up with him being sent
to his room to calm down and stated that his mother called him mean and
ungrateful, and that it hurt his feelings. The child reported that some visits
with his mother are good, and some are bad.”
            “On September 9, 2021, the caregiver informed the [social
worker] that during a recent visit, the mother and child . . . argued for an

                                         5
excessive amount of time regarding the . . . game that they were playing. The
child had expressed to the mother that he did not want to play the game, but
mother was insistent, resulting in them being upset with each other. The
mother attempted to send the child to his room multiple times, but the child
did not want to listen to the mother, prompting more arguments. The
caregiver reported that the rest of the visit was “very awkward,” with the
mother insisting on playing with the child [S.D.] more than [N.M.], making
the child even more upset. The caregiver reported that at one point, the
mother asked [N.M.] ‘how does it feel like to be ignored?’ and that it made the
child very upset.”
            On September 16, S.M. reported that another “visit was very
difficult due” to the mother and child “getting into arguments” and N.M.
having tantrums. N.M. stated that “he hated the mother, and that she was
not his parent.” The mother believed N.M.’s behavioral problems were
“because she tells him one thing and paternal grandmother tells him
something else. The mother is concerned that her and paternal grandmother
are not on the same page when it comes to discipline, resulting in him getting
confused and acting out. The [social worker] instructed the mother to
communicate with grandmother and clarify what the disciplinary actions
should look like.”
            A few weeks later, the social worker spoke to S.M. about a visit
that took place on September 30. S.M. stated that “the visit that occurred at
the home was going well until [he] and the mother were playing outside and
mother got upset at the child dumping out a new water bottle onto [a] tree.
The mother instructed the child to go inside, where the argument continued.
The child attempted to verbalize his feelings to the mother and stated, ‘I feel
like I hate you.’ The caregiver stepped in and asked the child to apologize to

                                       6
the mother, and the child apologized. The mother did not accept the apology
and ended the visit in a rush, stating that the child could call her when he
apologizes correctly. The child was emotionally distraught following the visit
and had to calm down by riding his bike outside. The child attempted to call
the mother back later on in the evening and the mother did not answer. The
caregiver reported that the child was able to get in contact with the mother
before bed, and that she facetimed him from inside her car.”
            “On October 7, 2021, the caregiver reported that during the
mother’s unsupervised visits, the mother does not plan activities and she and
the child went to the park and he rode a bike for 30 minutes before returning
home. The child and mother played in the living room for the remainder for
the visit. Caregiver explained that unsupervised visits don’t occur in the
community, and that she ends up supervising a majority of the visit in the
home.”
            Visits thereafter were supervised by various social service
workers. Some visits appeared to go well while others were problematic. N.M.
“expressed that he sometimes gets afraid during visits at new locations,
because he does not know if the caregiver is going to return to pick him up or
if he is going to stay with the mother. He has been encouraged to speak to the
mother about his emotions, but the caregiver reported that once he is with
her at visits, he is quiet and expresses his discomfort by throwing a tantrum.”
S.M. “got the child ready for the visit the night before by letting him know
where the visit will be and from what time. The child often expresses his
excitement for the visit beforehand, but then does not want the caregiver to
leave. She often has to ensure that she will return to pick him up and sneak
away when the child is distracted. The mother tried to bribe the child and tell
him about the activities she has planned, and it occasionally worked in her

                                       7
favor. The child comes back from the visits happy and tells her about the
games that he and the mother play.”
            Communication on non-visit days was described as “slim,” and
mainly through the use of Facebook Messenger. “She will ask the child what
he is doing, he replies back using audio chat or video chat. The mother will
occasionally facetime the child and ask what he is doing or ask what they
should do at their next visit.” In December, S.M. “reported that the child is
getting used to visits with the mother being at the visitation centers but
expressed anxiety and shyness during unsupervised visits. The child and
caregiver would arrive early to unsupervised visits, and the child would often
express excitement to play and spend time with the mother. Once the time
comes, the child would begin to get shy and ask the caregiver to stay with
them for the duration of the unsupervised visit. It takes approximately 10
minutes to calm the child down and for her to leave. After visits, the child
would share that he had fun. The caregiver reported that the child has not
mentioned many arguments between him and the mother.” N.M. was
otherwise happy and well with the paternal grandparents. He wanted to
remain with his grandparents.
            The mother reported she was learning a lot from her parenting
coach and attempting to implement what she had learned during visits,
“including providing incentives and rewarding appropriate behavior. She
shared she was trying to engage in meaningful conversation with both of her
children and encourages them to express themselves. She was ignoring the
child’s tantrums when he didn’t get what he wanted and followed through
with consequences. She showed up prepared with activities during the visit
and provided him with options.”



                                       8
            In January 2022, SSA learned that the mother had been
instructing S.D. to lie about the condition of her vehicle, and visits were
reverted to supervised until it could be confirmed that the mother had
repaired the vehicle.
            On April 5, 2022, the court ordered continued services. During
the next review period, there were numerous reports that she continued to
have contact with Richard. The mother denied it. The mother made no
progress in her services. Numerous referrals were canceled due to the
mother’s lack of participation.
            The mother was authorized eight hours of supervised visits. As of
June 2022, visit monitors reported that visits went generally well, with the
mother and N.M. watching television or movies together, playing board
games, coloring, or playing outdoors. The mother was appropriately
affectionate and N.M. reciprocated.
            In July 2022, the mother missed multiple visits, which upset
N.M. The mother was also prevented from contacting N.M. on Facebook
because “the child had become upset due to the subject nature of her video
calls.” The social worker had attempted to contact the mother about this, but
the mother claimed she did not get any call. N.M. expressed that he did not
wish to visit S.D. with the mother present, but wanted to see his sister. The
mother was resistant to any changes to the visitation schedule.
            N.M. loved to visit with his sister, which S.M. would facilitate. He
was doing very well in his placement.
            In the beginning of 2023, no concerns were reported by the
visitation center. The mother and N.M. spent their time doing crafts,
watching movies, and eating together.



                                        9
            In April 2023, pursuant to a negotiated settlement, formal
reunification services were terminated, but the mother was provisionally
offered further services until the section 366.26 hearing. The paternal
grandparents were granted de facto parent status. The court ordered a
bonding study between the mother and N.M. and set a section 366.26
hearing.
            In June 2023, the mother missed three visits. She could not be
located to provide her with notice of the section 366.26 hearing. SSA made a
diligent search and exhausted all possible leads as to her whereabouts. The
court found that SSA had exercised diligent efforts to locate the mother, and
over the objection of counsel, confirmed the date for the section 366.26
hearing as August 16, 2023.
            On June 21, SSA informed the court that the mother had given
birth to a baby boy. The mother tested positive for methamphetamine upon
admission to the hospital, but denied prenatal drug use. She was described as
under the influence as evidenced by her behavior. The reported father was
Richard, the mother’s longstanding partner and alleged domestic abuser. SSA
detained the child.
            SSA’s section 366.26 report stated that N.M. “presents as an
active and playful 9-year-old boy as evidenced by his willingness to engage
with his caregivers, younger foster sibling, and various activities such as
drawing, playing with friends and his openness in conversating. [¶] . . . The
child has been observed as having a close bond with his younger foster
sibling, G[.], the paternal grandparents adopted 4-year-old boy.”
            N.M. was doing well in school and attending regularly. He had
not been assessed as needing any mental health services. N.M. told the social
worker that he liked living with the paternal grandparents “and would like to

                                       10
stay in his current bedroom forever. During monthly visits, the undersigned
observed the child to be comfortable in [his] placement, moving around the
home with ease and interacting with the paternal grandmother affectionately
and confidently. He is able to speak to the caregiver[s] . . . with ease about
what is bothering him or if he needs something. The child’s educational and
behavioral needs are being met on a continuous basis.”
                Adoption had been discussed with N.M., and he expressed he
wanted to be adopted. He understood that adoption meant he may not see the
mother, but stated that was “‘okay.’” While he loved the mother, he felt safe
with her “‘only at visits.’” During an interview in late June, N.M., when asked
about visits said, “‘I dunno, I don’t really feel like going.’” Upon further
inquiry, he said that during joint visits with his sister, “‘well sometimes
mommy doesn’t really pay attention to me and she and [S.D.] talk a lot of
whispering.’” He was upset the mother had not told him about her pregnancy.
Since the baby had been born, N.M. did not want to visit because “‘she only
sees me after seeing the baby and at our last visit, she didn’t bring anything
for me, it was all for the baby.’”
                The social worker observed the mother’s visit with N.M. and S.D.
on July 20. “The mother appeared to be engaged with both children; she
brought snacks and food such as macaroni and cheese, arts and crafts, water
bottles with water. She was observed as able to address both children with
ease including taking a pause to ensure she was listening to both children as
they shared their day with her.” When asked about the visit, N.M. said he felt
good because he was here with his sister. When asked if he wanted individual
visits with his mother, he answered, “‘[n]ope.’” When asked why, he said, “‘I
just don’t.’”



                                         11
            SSA assessed the situation regarding visits: “During this
supervisory period, the mother has maintained and/or attempted to maintain
visitation with the child, except for approximately three to four no-shows.
Whilst the mother has been observed during visitations with the child as
appropriately engaged and has brought snacks, food, arts, and crafts, her
visitation throughout the life of the case has been inconsistent. The child has
recently begun declining individual visitations with the mother and reported
feeling upset that the mother was allegedly not prepared for visitations with
him following visits from another child.”
            N.M. began attending visits only when S.D. was scheduled to be
present. Starting in September 2023, N.M. began to refuse all visits with his
mother and requested visits with S.D. without the mother present. The social
worker reported: “[T]he child has no interest in any visitation with the
mother.” SSA continued to encourage and engage the child in visits with the
mother. N.M. “inquire[d] as to ‘when’ he [could] be ‘adopted.’”
            During this period, the mother’s referrals for services had been
terminated due to her failure to respond.
            Overall, N.M. had been out of the mother’s care for
approximately two years. His caregivers were able to provide the child with
care suitable to his needs and were committed to adoption. “Furthermore, the
child has been observed as having an intimate bond with his caregiver[]s and
his adopted younger uncle with whom the child has known since the child
was adopted. It is in the opinion of the Agency that the child’s best interest
lay in being adopted by the prospective adoptive parents and current
caregivers. The undersigned respectfully recommends that parental rights be
terminated to facilitate the most permanent and suitable plan for the child.”
In its adoption assessment, SSA reported that N.M. was likely to be adopted,

                                       12
and that the benefit of continuing his relationship with the mother would not
outweigh the benefits of adoption. N.M. and S.D. shared a close bond, but the
paternal grandparents were willing to continue sibling visits postadoption.
            The bonding study, based both on clinical observation and
testing, indicated that N.M. was a “happy, bubbly, enthusiastic young man
who loves his life and is content with his family life. He expresses a very close
connection with the de facto parents . . . , and with his young foster brother,
G[.], where they obviously enjoy being with each other.”
            As to the mother, N.M. “generally described his mother as
someone with whom he feels bored, suggesting he experiences the visitation
situation as limiting. But when asked what he remembers about living with
her, he again generalizes to feeling they were always at home. In a projective
measure about how he views his mother, he suggested if people were animals
she would be an unspecified scary animal of some kind. He would not want to
ask her to go on a long trip with him. He vaguely says living with her was ‘a
bad time’ but did not want to elaborate about this and I did not push him. He
likes seeing his half-sister when they visit together and wishes he could see
his sister without his mom. His responses on the maternal measure place
him in a below-average range in terms of the degree of connection with mom
compared to other youngsters across the U.S. who have taken this test. He
does not seem to feel that he would experience it as a loss not to see her. His
report on this measure is fairly consistent with what he says in interview
about his sense of closeness with her. Mother’s report is significantly higher
than that reported by the minor. Her interview discussion of their difficulties
is more frank and probably a better measure than this score where she rates
a higher emotional connection between them.”



                                       13
            The evaluator observed a visit between the mother, S.D., and
N.M. She assessed that the mother was “extraordinarily well-prepared with
unbelievably good food and all manner of toys and crafts. [N.M.] on one level
seems positive toward her but there is an undercurrent of hostility that is
literally played out throughout the hour. Sometimes she just tolerates it but
he is persistent. He displays a very conflicted attachment style toward her.”
            During their interview, N.M. told the evaluator that he would
“like it” if he did not have to see his mother anymore, because “I do not really
like having visitation.” (Italics and boldface omitted.)
            In terms of assessing the legal factors, the evaluator referred to
the mother’s visitation as “somewhat irregular.” As to whether the child
would benefit from continuing the relationship, the evaluator opined:
“Depending on the parameters set out for continuing, [N.M.] could benefit,
assuming that communications and parameters of contact would remain
appropriate and not put him a situation where his current level of stability is
compromised.” As to whether termination of the relationship would impose a
detriment on N.M., the evaluator stated: “Based on all the information
presently available to me, I do not believe it would be a detriment if the
relationship is terminated.”
            The section 366.26 hearing was contested and conducted over
several days in October and December 2023. The court received the bonding
study, among other documents, into evidence.
            N.M. testified. He stated that during his visits with the mother,
they would play games and eat. She had brought toys and books. They
celebrated with cake for his birthday, and she brought him a toy he liked as a
birthday gift. He liked seeing his mother, was excited to see her, and would
sometimes give her a hug or tell her he loved her. He was not sad at the end

                                       14
of visits. He did not want increased visitation, stating that “two times a week
is enough.” N.M. looked at some photos of past visits and said he was happy,
or “look[ed] happy,” during those times. He wanted to see S.D. and his infant
brother “a lot.”
             When asked if he loved his mother, N.M. answered, “Kinda.”
When asked why, he said it was because she sometimes brought food to visits
that she knew he did not like, and called him a nickname he did not like.
             N.M. wanted to be adopted. When told there would be no more
court-ordered visits with the mother if he was adopted, N.M. said he would
like that because he liked staying home with the paternal grandparents,
having fun, and going places. He did not know if he would miss seeing the
mother, but thought it would be fine not seeing her. He had made adoption a
goal for himself because he did not want to live with his mother or his father.
             The evaluator who conducted the bonding study testified in a
manner consistent with her report. She described N.M.’s feelings toward the
mother as “conflicted.” She believed N.M.’s unresolved conflict with the
mother had started before he was removed, possibly due to the men with
whom the mother had been involved, including the father. During her
observed visit, she felt the mother was “remarkably good” given the limits of
the visitation center.
             The evaluator could not conclude it would be detrimental to N.M.
if the relationship was severed, and in her view, N.M. was better off with the
paternal grandparents than with the mother. As to S.D., the evaluator opined
that she and N.M. had a strong sibling bond. Their relationship, she believed,
should be maintained.




                                      15
            The social worker testified in a manner consistent with SSA’s
reports. Her assessment was that N.M. was adoptable and adoption was in
his best interests.
            S.D. also testified about her close relationship with N.M. and her
desire to spend more time with him.
            The mother also testified, objecting to the termination of parental
rights because she believed she and N.M. had a good relationship. She
claimed S.M. had tried to “ruin” this relationship since she was pregnant
with him and had done everything she could to make N.M. “hers.” She
testified N.M. was excited to see her at visits. They would play games and
talk.
            The mother admitted that recent visits had not gone well, and for
several months, N.M. had refused their individual visits before he stopped
coming to visits altogether. She believed that this was due to missed visits
due to her pregnancy, and she had apologized to N.M. She did not understand
why he had begun refusing visits with her, because they had “always had
really good visits.” The mother believed S.M. was influencing N.M. not to
attend visits. Despite N.M.’s refusal to visit, she nonetheless believed it
would be hard on him if their relationship was severed because they had a
strong relationship. With respect to S.D., the mother did not believe the
paternal grandparents would facilitate visitation after adoption.
            After the close of evidence, the mother’s counsel argued that the
parental benefit exception and sibling exception to adoption should be
applied.
            After reviewing the evidence, the court found that N.M. was
adoptable, and that the parents had not met their burden on either exception.



                                       16
The court terminated parental rights and ordered adoption as the permanent
plan for N.M. The mother now appeals.
                                  DISCUSSION
                                         I.
                      THE PARENTAL BENEFIT EXCEPTION
            “If the court cannot safely return a dependent child to a parent’s
custody within statutory time limits, the court must set a hearing under
section 366.26.” (In re Caden C. (2021) 11 Cal.5th 614, 630 (Caden C.).) The
purpose of the section 366.26 hearing is to select a permanent plan for the
child. (Id. at pp. 630–631.) Section 366.26 lists permanent plans in order of
preference, and adoption is the preferred permanent plan. (§ 366.26, subd.
(b)(1); In re Edward R. (1993) 12 Cal.App.4th 116, 121–122.) The court must
first find by clear and convincing evidence that the child is likely to be
adopted. (§ 366.26, subd. (c)(1).) If the court does so, and services have
already been terminated, the court then terminates parental rights to permit
adoption. (Caden C., at pp. 630–631.)
            The exception to this rule is if the parent shows that one of
several statutory provisions applies. (§ 366.26, subd. (c)(1)(B)(i)–(vi), (4)(A).)
“[I]f the parent shows that termination would be detrimental to the child for
at least one specifically enumerated reason, the court should decline to
terminate parental rights and select another permanent plan.” (Caden C.,
supra, 11 Cal.5th at pp. 630–631.) The parent bears the burden of
establishing the exception applies. (In re Beatrice M. (1994) 29 Cal.App.4th
1411, 1418–1419.)




                                        17
            One of these is the parental benefit exception. “From the statute,
we readily discern three elements the parent must prove to establish the
exception: (1) regular visitation and contact, and (2) a relationship, the
continuation of which would benefit the child such that (3) the termination of
parental rights would be detrimental to the child.” (Caden C., supra, 11
Cal.5th at pp. 631–632.) This is a high standard to meet on appeal. The
beneficial relationship exception to the termination of parental rights “may
be the most unsuccessfully litigated issue in the history of law.” (In re Eileen
A. (2000) 84 Cal.App.4th 1248, 1255, fn. 5, disapproved on other grounds by
In re Zeth S. (2003) 31 Cal.4th 396, 413–414.)

            The first two elements of the court’s analysis are reviewed for
substantial evidence. (Caden C., supra, 11 Cal.5th at pp. 639–640.) “[W]e
presume in favor of the order, considering the evidence in the light most
favorable to the prevailing party, giving the prevailing party the benefit of
every reasonable inference and resolving all conflicts in support of the order.”
(In re Autumn H. (1994) 27 Cal.App.4th 567, 576 (Autumn H.).)
            “In reviewing factual determinations for substantial evidence, a
reviewing court should ‘not reweigh the evidence, evaluate the credibility of
witnesses, or resolve evidentiary conflicts.’” (Caden C., supra, 11 Cal.5th at p.
640; In re L. Y. L. (2002) 101 Cal.App.4th 942, 947.) “The [court’s]
determinations should ‘be upheld if . . . supported by substantial evidence,
even though substantial evidence to the contrary also exists and the trial
court might have reached a different result had it believed other evidence.’”
(Caden C., at p. 640.)
            The final step, determining whether termination of parental
rights would be detrimental to the child is reviewed for abuse of discretion.
(Caden C., supra, 11 Cal.5th at p. 641.) “Review for abuse of discretion is

                                       18
subtly different [than substantial evidence review], focused not primarily on
the evidence but the application of a legal standard. A court abuses its
discretion only when ‘“‘the trial court has exceeded the limits of legal
discretion by making an arbitrary, capricious, or patently absurd
determination.’”’” (Ibid.) “[T]he practical difference between the standards is
not likely to be very pronounced.” (Ibid.) “At its core, the hybrid standard . . .
simply embodies the principle that ‘[t]he statutory scheme does not authorize
a reviewing court to substitute its own judgment as to what is in the child’s
best interests for the trial court’s determination in that regard, reached
pursuant to the statutory scheme’s comprehensive and controlling
provisions.’” (Ibid.)
             As relevant here, the first prong of the benefit exception requires
regular visitation and contact. (Caden C., supra, 11 Cal.5th at pp. 631–632;
In re Beatrice M., supra, 29 Cal.App.4th at pp. 1416–1417.) The lower court
focused its ruling on the second and third prongs of the analysis, apparently
finding, without explicitly stating, that the requirement of regular and
consistent visitation had been met. SSA does not challenge this implied
finding on appeal.
             If visitation and contact is sufficient, the court must next
determine whether a beneficial relationship exists. The focus in doing so is on
the child. (Caden C., supra, 11 Cal.5th at pp. 632–633.) The mother
acknowledges she is required to show more than “a friendly and loving
relationship, an emotional bond, or pleasant visits.” The parent-child
relationship “may be shaped by a slew of factors, such as ‘[t]he age of the
child, the portion of the child’s life spent in the parent’s custody, the
“positive” or “negative” effect of interaction between parent and child, and the
child’s particular needs.’” (Id. at p. 632.) In Caden C., the court held that “the

                                        19
parent must show that the child has a substantial, positive, emotional
attachment to the parent—the kind of attachment implying that the child
would benefit from continuing the relationship.” (Id. at pp. 636–637.)
             The Caden C. court referred to Autumn H., supra, 27 Cal.App.4th
567, as “the seminal decision interpreting the exception.” (Caden C., supra,
11 Cal.5th at pp. 631–632.) In determining the existence of a beneficial
relationship, we look to “[t]he age of the child, the portion of the child’s life
spent in the parent’s custody, the ‘positive’ or ‘negative’ effect of interaction
between parent and child, and the child’s particular needs . . . .” (Autumn H.,
at pp. 575–576.) The court must also find that the strength of the parent-
child relationship outweighs the potential benefit of adoption. (Id. at p. 575.)

             Here, the court considered evidence from the bonding study, the
bonding study evaluator, N.M., the mother, and the social worker. The
evidence was overwhelming that N.M.’s feelings toward and bond with the
mother were “conflicted,” as the evaluator described it. He had recently been
refusing all visits with the mother, including visits with his siblings that he
had previously enjoyed. When he did visit the mother, he was not sad when
the visits ended. He did not want to live with her, but wanted to be adopted.
N.M. “[k]inda” loved the mother, but he would be fine with not seeing her any
longer. Their relationship was at best mixed, from N.M.’s point of view, and
his most recent feelings were negative. In short, there was substantial
evidence from which the court could conclude that a beneficial relationship as
contemplated by the statute and Caden C. did not exist. The mother did not
demonstrate the type of “substantial, positive, emotional attachment to the
parent” that the law requires. (Caden C., supra, 11 Cal.5th at pp. 636–637.)
             The court was not required to continue the analysis past the
second prong if the mother failed to meet her burden. But if it had, it was not

                                         20
an abuse of discretion for the court to find the mother also failed to meet her
burden on the third prong. In the third prong of the analysis, which focuses
on “whether ‘termination would be detrimental to the child due to’ the
relationship — the court must decide whether it would be harmful to the
child to sever the relationship and choose adoption.” (Caden C., supra, 11
Cal.5th at p. 633.) In doing so, “the trial court must decide whether the harm
from severing the child’s relationship with the parent outweighs the benefit
to the child of placement in a new adoptive home.” (Id. at pp. 631–632.) Here,
the bonding evaluator testified that she could not conclude detriment to N.M.
would follow if the parent-child relationship was severed, and further, the
child was better off with the paternal grandparents. We find no abuse of
discretion in the court’s determination that the stability of an adoptive home
would outweigh any benefit of continuing the child’s relationship with the
mother.
                                        II.
                             THE SIBLING EXCEPTION
            The court may not terminate parental rights when “[t]here would
be substantial interference with a child’s sibling relationship . . . .” (§366.26,
subd. (c)(1)(B)(v).) The court must consider “the nature and extent of the
relationship, including, but not limited to, whether the child was raised with
a sibling in the same home, whether the child shared significant common
experiences or has existing close and strong bonds with a sibling, and
whether ongoing contact is in the child’s best interest, including the child’s
long-term emotional interest, as compared to the benefit of legal permanence
through adoption.” (Ibid.)




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            We apply the substantial evidence standard of review on appeal.
(In re L.Y.L., supra, 101 Cal.App.4th at p. 947.) The mother has the burden of
establishing the sibling exception. (Id. at p. 952.)
            There was substantial evidence to support the court’s ruling that
the sibling exception did not require a permanent plan other than adoption in
this case. It was undisputed that N.M. and his sister have a bond, but there
was substantial evidence that freeing N.M. for adoption would not interfere
with their relationship. “‘[U]nlike the parent-child relationship, sibling
relationships enjoy legal recognition after termination of parental rights.’
[Citation.] Thus, it is not a foregone conclusion that terminating parental
rights will substantially interfere with a sibling relationship, and the juvenile
court must make this factual determination.” (In re D.O. (2016) 247
Cal.App.4th 166, 175, fn. omitted.)
            S.M. committed to furthering future contact, and there was no
evidence she intended to sever the relationship between N.M. and his sister.
The mother’s testimony to the contrary was pure speculation, and obviously
impacted by her highly negative opinion of S.M. The court was within its
discretion to disregard it. S.M.’s assurances provided the substantial evidence
the law required. There was no error.




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                             DISPOSITION
         The court’s order is affirmed.



                                          MOORE, ACTING P. J.

WE CONCUR:



SANCHEZ, J.



DELANEY, J.




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